      Case 4:05-cr-00337 Document 116 Filed on 06/18/07 in TXSD Page 1 of 5




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
                    Government,             §
                                            §
VS.                                         §   CRIMINAL NO. H-05-337
                                            §
ANGELA ARMSTRONG, et al.,                   §
                                            §
                    Defendants.             §

                            ORDER ON MODIFICATION
                             OF BOND CONDITIONS

       Defendants Debbie Ramcharan and Angela Armstrong were found guilty by a jury on

June 16, 2007. This court modifies the bond conditions as follows:

             Additional $5000.00 cash deposit must be made

             Electronic monitoring with GPS

             Personal contact to be increased to once per week

             Phone contact to be increased to three times per week

             No travel outside of Harris County is allowed

             SIGNED on June 18, 2007, at Houston, Texas.

                                      ______________________________________
                                                   Lee H. Rosenthal
                                              United States District Judge
      Case 4:05-cr-00337 Document 116 Filed on 06/18/07 in TXSD Page 2 of 5




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
                    Government,             §
                                            §
VS.                                         §   CRIMINAL NO. H-05-337
                                            §
ANGELA ARMSTRONG, et al.,                   §
                                            §
                    Defendants.             §

                            ORDER ON MODIFICATION
                             OF BOND CONDITIONS

       Defendants Debbie Ramcharan and Angela Armstrong were found guilty by a jury on

June 16, 2007. This court modifies the bond conditions as follows:

             Additional $5000.00 cash deposit must be made

             Electronic monitoring with GPS

             Personal contact to be increased to once per week

             Phone contact to be increased to three times per week

             No travel outside of Harris County is allowed

             SIGNED on June 18, 2007, at Houston, Texas.

                                      ______________________________________
                                                   Lee H. Rosenthal
                                              United States District Judge
      Case 4:05-cr-00337 Document 116 Filed on 06/18/07 in TXSD Page 3 of 5




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
                    Government,             §
                                            §
VS.                                         §   CRIMINAL NO. H-05-337
                                            §
ANGELA ARMSTRONG, et al.,                   §
                                            §
                    Defendants.             §

                            ORDER ON MODIFICATION
                             OF BOND CONDITIONS

       Defendants Debbie Ramcharan and Angela Armstrong were found guilty by a jury on

June 16, 2007. This court modifies the bond conditions as follows:

             Additional $5000.00 cash deposit must be made

             Electronic monitoring with GPS

             Personal contact to be increased to once per week

             Phone contact to be increased to three times per week

             No travel outside of Harris County is allowed

             SIGNED on June 18, 2007, at Houston, Texas.

                                      ______________________________________
                                                   Lee H. Rosenthal
                                              United States District Judge
      Case 4:05-cr-00337 Document 116 Filed on 06/18/07 in TXSD Page 4 of 5




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
                    Government,             §
                                            §
VS.                                         §   CRIMINAL NO. H-05-337
                                            §
ANGELA ARMSTRONG, et al.,                   §
                                            §
                    Defendants.             §

                            ORDER ON MODIFICATION
                             OF BOND CONDITIONS

       Defendants Debbie Ramcharan and Angela Armstrong were found guilty by a jury on

June 16, 2007. This court modifies the bond conditions as follows:

             Additional $5000.00 cash deposit must be made

             Electronic monitoring with GPS

             Personal contact to be increased to once per week

             Phone contact to be increased to three times per week

             No travel outside of Harris County is allowed

             SIGNED on June 18, 2007, at Houston, Texas.

                                      ______________________________________
                                                   Lee H. Rosenthal
                                              United States District Judge
      Case 4:05-cr-00337 Document 116 Filed on 06/18/07 in TXSD Page 5 of 5




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
                    Government,             §
                                            §
VS.                                         §   CRIMINAL NO. H-05-337
                                            §
ANGELA ARMSTRONG, et al.,                   §
                                            §
                    Defendants.             §

                            ORDER ON MODIFICATION
                             OF BOND CONDITIONS

       Defendants Debbie Ramcharan and Angela Armstrong were found guilty by a jury on

June 16, 2007. This court modifies the bond conditions as follows:

             Additional $5000.00 cash deposit must be made

             Electronic monitoring with GPS

             Personal contact to be increased to once per week

             Phone contact to be increased to three times per week

             No travel outside of Harris County is allowed

             SIGNED on June 18, 2007, at Houston, Texas.

                                      ______________________________________
                                                   Lee H. Rosenthal
                                              United States District Judge
